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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION



UNITED STATES OF AMERICA,

v.                                       Case No. 1:16cr7-MW/GRJ-1

IVAN JERMAINE WIMS,

          Defendant.
__________________________/

                   ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, ECF No. 94, to which there has been no timely objection, and subject to this

Court’s consideration of the plea agreement pursuant to Fed. R. Crim. P. 11(e)(2),

the plea of Guilty of the Defendant to Counts 1 and 4 of the Indictment against him

is hereby ACCEPTED. All parties shall appear before the Court for sentencing as

directed.

      SO ORDERED on September 14, 2016.

                                      s/Mark E. Walker             ____
                                      United States District Judge
